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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

ATLANTA BELTLINE, INC.,                      :
                                             :
      Plaintiff,                             :
                                             :
             v.                              :      CIVIL ACTION FILE NO.:
                                             :
DERRICK DUCKWORTH and                        :
THE BELTLINE TEAM, INC.,                     :      JURY TRIAL DEMANDED
                                             :
      Defendants.                            :

                                  COMPLAINT

      Plaintiff Atlanta Beltline, Inc. (“ABI”) hereby files its Complaint as follows:

                            Jurisdictional Allegations

      1.     ABI is a non-profit corporation organized and existing under the laws

of the State of Georgia with its principal place of business at 100 Peachtree Street,

Suite 2300, Atlanta, Fulton County, Georgia 30303.

      2.     Defendant Derrick Duckworth (“Duckworth”) is a resident of Fulton

County, Georgia, who may be served with process at his residence.

      3.     Defendant The Beltline Team, Inc. (the “Beltline Team”) is a for

profit corporation organized under the laws of the State of Georgia with its

principal place of business at 741 Brookline St., SW, Atlanta, Fulton County,

Georgia 30310. Derrick Duckworth is its registered agent, C.E.O., C.F.O. and
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Secretary according to the Georgia Secretary of State listing for The Beltline Team,

Inc.

       4.    This is an action for trademark 1 infringement, trademark dilution,

unfair competition and violation of the anti-cybersquatting provisions under the

Trademark Act of 1946, 15 U.S.C. §§ 1051, et seq. (the “Lanham Act”); and for

trademark infringement, violation of the Georgia Uniform Deceptive Trade

Practices Act, unfair competition, dilution and attorney fees under the laws of the

State of Georgia.

       5.    This Court has original jurisdiction over this action pursuant to 28

U.S.C. §§ 1331 and 1338(a) and (b); and 15 U.S.C. §§ 1116 and 1121. This Court

has jurisdiction, pursuant to the principles of supplemental jurisdiction and 28

U.S.C. § 1367, over ABI’s claims for trademark infringement, violation of the

Uniform Deceptive Trade Practices Act, unfair competition, dilution and attorney

fees under the laws of the State of Georgia.

       6.    This Court has personal jurisdiction over Duckworth and the Beltline

Team because each is domiciled in the State of Georgia.

       7.    Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 because

Duckworth is a resident of this District and the Beltline Team’s principal office
1
 For purposes of this Complaint, the term trademark shall encompass trademarks
and servicemarks.

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address is in this District.       Venue is also proper in this District because a

substantial portion of the acts complained of herein were committed by the

defendants within this District.

                                   General Allegations

      8.     Following expiration of a Trademark License Agreement, the

Defendants are using without authorization ABI’s intellectual property, as follows:

the domain name www.thebeltlineteam.com; “The Beltline Team” as their business

name on signage, including on a billboard located at or near 1050 Murphy Avenue,

SW, in Atlanta Georgia; the Beltline Team’s corporate name; the defendants’

Facebook, Twitter and YouTube pages; and a blue and green color scheme and

circular logo that is confusingly similar to ABI’s blue and green color scheme and

circular logo. These infringing usages are all in connection with Defendants’ real

estate business, which directly competes with ABI’s real estate development

services, in order to trade on the reputation and goodwill of ABI and the

BELTLINE® and ATLANTA BELTLINE® brands and create consumer

confusion and deception.




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                                ABI’s Trademarks

      9.     The Atlanta BeltLine is the most comprehensive revitalization effort

ever undertaken in the City of Atlanta and among the largest, most wide-ranging

redevelopment and mobility projects currently under way in the United States.

      10.    The Atlanta BeltLine will ultimately consist of a branded network of

public parks, multi-use trails, affordable housing options, and transit for the

citizens of Atlanta existing along 22 miles of historic railroad corridors circling

Downtown Atlanta and connecting 45 Atlanta in-town neighborhoods. The Atlanta

BeltLine program is a 25-year project that has completed some phases of trails and

tree parks. Work on the transit component of the project is ongoing.

      11.    ABI is the owner of the BELTLINE® and ATLANTA BELTLINE®

trademarks as well as variations thereof and its circular logo, including as used in

ABI’s blue and green color scheme, in connection with urban redevelopment

services, including, but not limited to, real estate development, affordable housing,

transit, parks and recreation projects and services, related online information and

retail services, printed materials, tour guides, maps, signs, apparel and other goods,

organization and sponsorship of public events and other goods and services.




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      12.       ABI owns numerous State of Georgia and federal trademark

registrations for those marks, in addition to common law trademark rights with

respect thereto.

      13.       In conjunction with Atlanta Beltline Partnership, Inc. (“ABP”), ABI

operates the official ATLANTA BELTLINE® website located at www.beltline.org,

which has been in operation since at least as early as 2004.

      14.       ABI has undertaken great efforts over many years to establish, expand

and enforce its trademark rights with respect to the BELTLINE® family of marks,

and seeks to prevent potential consumer and community confusion as to its

affiliation with, authorization, sponsorship or approval of products or services

provided by others and the potential harm to the reputation and goodwill associated

with its trademarks that could result therefrom.

      15.       The BELTLINE® and ATLANTA BELTLINE® brands reflect

certain principles such as transit-oriented development, less-dense urban

development, pedestrian and bicycle-friendly paths, MARTA connectivity,

sustainability, city revitalization, and the elimination of economic and cultural

barriers.




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      16.    The BELTLINE® and ATLANTA BELTLINE® brands give rise to

consumer     expectations     regarding    community     engagement,     community

strengthening, and quality.

      17.    As a result, the BELTLINE® and ATLANTA BELTLINE® brands

have become a very valuable source indicator for various goods and services,

including real estate development services.

      18.    A number of non-profit organizations have been engaged with the

Atlanta BeltLine program. One such organization, ABP, formed in July 2005, is

funded entirely through private endeavors. ABI was formed in June 2006. Its

purpose was and is to oversee the planning and implementation of the Atlanta

BeltLine vision and BELTLINE and ATLANTA BELTLINE brands by working

closely with Invest Atlanta and various City of Atlanta departments to refine plan

details, secure public funding, inform and engage members of the community and

serve as the overall project management office for the Atlanta Beltline project.

      19.    ABP and ABI are responsible for fulfilling the principles of the

BELTLINE and ATLANTA BELTLINE brands and meeting community

expectations regarding these brands.

      20.     On October 18, 2005, ABP filed a trademark application with the

United States Patent and Trademark Office (“USPTO”) for the BELTLINE mark.


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The USPTO issued a registration for the BELTLINE mark, registration number

3356126, on December 18, 2007 for Real Estate Development, in International

Class 37. A true and correct copy of registration number 3356126 is attached

hereto as Exhibit A.

      21.    On January 28, 2008, ABP assigned the BELTLINE mark to ABI. A

true and correct copy of the assignment is attached hereto as Exhibit B.

      22.    In 2010, ABI obtained a trademark registration from the Georgia

Secretary of State for the BELTLINE mark, registration number S-24979, for

“Construction and Repair/Urban Redevelopment.” A true and correct copy of

registration number S-24979 is attached hereto as Exhibit C.

      23.    That same year, ABI also obtained a federal trademark registration

from the United States Patent and Trademark Office for the mark ATLANTA

BELTLINE, registration number 3922938, for:

      Urban redevelopment in the nature of real estate development in the
      Atlanta region; providing online real estate development information
      relating to urban redevelopment in the Atlanta region, in Class 37.

A true and correct copy of registration number 3922938 is attached hereto as

Exhibit D.

      24.    In 2010, ABI also obtained a trademark registration from the Georgia

Secretary of State for the mark ATLANTA BELTLINE, registration number S-


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25247, for “construction and repair/urban redevelopment: providing online

information relating to urban redevelopment.”        A true and correct copy of

registration number S-25247 is attached hereto as Exhibit E.

      25.     ABI also owns federal trademark registration number 3,892,547 for

its circular logo covering use with urban redevelopment in the nature of real estate

development and providing online real estate development information relating to

urban redevelopment, issued on December 21, 2010. A true and correct copy of

registration number 3,892,547 is attached hereto as Exhibit F.

      26.    ABI also owns federal trademark registrations number 4,344,983 and

4,344,984 issued on June 4, 2013 for ATLANTA BELTLINE and BELTLINE,

respectively, covering use with brochures, informational flyers and newsletters

regarding urban redevelopment projects in Atlanta among other goods. Copies of

registrations number 4,344,983 and 4,344,984 are attached hereto as Exhibits G

and H.

      27.    ABI also owns multiple other federal trademark registrations granted

between 2010 and 2016 for its ATLANTA BELTLINE word mark and its

ATLANTA BELTLINE and circular mosaic logo covering use with real estate

development, urban redevelopment and providing information, brochures,

newsletters, blogs, tours and online social networking among other goods and


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services, including federal trademark registration numbers 4,344,981, 4,344,982,

4,949,341, 4,949,342, 4,949,397, 4,949,398, 4,949,400, 4,949,401, 4,958,432 and

4,980,865. A true and correct copy of each of these registrations is attached hereto

as Exhibit I. The BELTLINE, ATLANTA BELTLINE and circular mosaic mark

are hereafter referred to, collectively, as the “ABI Marks.”

      28.    The BELTLINE and ATLANTA BELTLINE marks have been used

by ABI and ABP to refer to the Atlanta BeltLine project and related real estate

development services as well as other goods and services related to the Atlanta

BeltLine project since at least as early as May 2004.

      29.    The ABI Marks and their registrations have not been abandoned,

canceled or revoked.

      30.    ABI and ABP have used and are currently using the ABI Marks in

commerce and in connection with the Atlanta BeltLine project and related real

estate development services as well as other goods and services related to the

Atlanta BeltLine project and plan to continue such use in the future.

      31.    ABI provides and uses the official website beltline.org and social-

networking       sites      such      as         Twitter.com/atlantaBeltLine    and

https://www.facebook.com/atlantabeltline to disseminate information about the

Atlanta BeltLine and to promote the BELTLINE and ATLANTA BELTLINE


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brands. As a result, consumers are accustomed to seeking out information about

the BELTLINE and ATLANTA BELTLINE brands online.

      32.   ABI has carefully built the reputation of the Atlanta BeltLine program

and has made substantial financial and other investments in the marketing,

promotion and advertising of the Atlanta BeltLine project in connection with the

ABI Marks and protection of ABI’s valuable intellectual property rights. Between

2006 and 2018, the Atlanta BeltLine has invested approximately $559 million into

the Atlanta BeltLine program, funded from tax revenue, private philanthropic

sources, and local government sources.

      33.   Also as a result of the hard work of ABI, the Atlanta BeltLine

program has achieved a reputation of integrity, quality, efficiency, and progress

among consumers and the BELTLINE and ATLANTA BELTLINE brands now

enjoy significant consumer goodwill.

                             Defendants’ Conduct

      34.   Duckworth and the Beltline Team operate a real estate business in

Fulton County, Georgia and are using the name “The Beltline Team” as the

corporate name for The Beltline Team and as their business name.

      35.   Duckworth    also   has      registered   the   Internet   domain   name

<www.thebeltlineteam.com> (the “Infringing Domain Name”), initially on


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September 9, 2008 and in subsequent renewals. The Infringing Domain Name

fully incorporates the BELTLINE mark.

      36.    The defendants have also created social media pages using names or

handles that refer to “the Beltline Team” including a Facebook page at

https://www.facebook.com/thebeltlineteam/,            a     Twitter   page     at

https://twitter.com/thebeltlineteam,     and       a        YouTube   page     at

https://www.youtube.com/user/thebeltlineteam. A true and correct copy of the

images of each of these pages is attached as composite Exhibit J attached hereto.

The “the Beltline Team” corporate and business name, the Infringing Domain

Name and the names or handles for the social media pages referred to above are

referred to collectively as the “Infringing Names.”

      37.    The defendants are also using a circular logo and a blue and green

color scheme.

      38.    The defendants also maintain an outdoor billboard located at or near

1050 Murphy Avenue, SW in Atlanta (the “Billboard”) featuring advertising

referring to themselves as “the Beltline Team” using the blue and green color

scheme and a circular logo similar to that utilized by ABI. A true and correct

picture of the Billboard is attached hereto as Exhibit K.




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      39.    In 2010, Duckworth obtained from ABI a license to utilize the ABI

Marks pursuant to a Trademark License Agreement (the “License”) that expired on

December 31, 2013.

      40.    The License did not authorize use of the name “the Beltline Team” or

registration or use of the Infringing Domain Name or any of the other Infringing

Names, or use of the blue and green color scheme or circular logo being used by

the defendants. A copy of the License is attached as Exhibit L.

      41.    The License has not been renewed.

      42.     The defendants are using the Infringing Names and the blue and

green color scheme and circular logo to promote services closely related to the

services provided by ABI using the ABI Marks.

      43.     The defendants’ use of the Infringing Names and the blue and green

color scheme and circular logo is likely to cause confusion among the consuming

public, who will be led to believe that the defendants are affiliated, sponsored by or

are otherwise related to ABI or that ABI approves of the defendants’ use and

registration of the Infringing Names and the contents contained on the website

associated with the Infringing Domain Name, including the promotion and sale of

goods and services on that website.




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      44.     Defendants’ registration and use of the Infringing Domain Name and

use of the other Infringing Names and blue and green color scheme and circular

logo in connection with their business dilutes the distinctiveness of the ABI Marks

and reduces the ability of the ABI Marks to distinguish any goods and services

offered by ABI from the goods and services offered by others, including the

defendants.

      45.     ABI has no ability to control: (1) the quality, safety, or characteristics

of the goods or services offered and sold by the defendants, (2) the information

contained on the website associated with the Infringing Domain Name, (3) the

defendants’ use of the Infringing Names or the blue and green color scheme and

circular logo, or (4) defendants’ operation and use of the website located at such

Infringing Domain Name.

      46.     Accordingly, on February 18, 2016, ABI sent a letter to Duckworth

directing Duckworth to cease and desist its infringing activities. A true and correct

copy of this letter is attached hereto as Exhibit M.

      47.     ABI, through counsel, then made numerous attempts to reach

Duckworth by telephone, but he was unresponsive.




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        48.   ABI sent another cease and desist letter dated December 19, 2019 as

well as a follow up letter dated January 30, 2020. A true and correct copy of those

letters is attached hereto as Exhibit N.

        49.   ABI, through counsel, has contacted Duckworth by phone to follow

up and while Duckworth has acknowledged that the use of the Infringing Names

needs to cease, the defendants persist to this day in their use of the Infringing

Names, including the use of the Infringing Domain Name, the Billboard, the

operation of their website, the use of the company name “The Beltline Team, Inc.”

and the use of the confusingly similar blue and green color scheme and circular

logo.

        50.   The defendants, without authorization or license from ABI, have

knowingly and willfully used and continue to use the Infringing Names and the

blue and green color scheme and circular logo in connection with their

advertisement, offer for sale and sale of their realty-related goods and services.

        51.   The defendants are imitating the ABI Marks by using the Infringing

Names and the blue and green color scheme and circular logo.

        52.   The community is likely to be confused about whether the defendants’

website is associated with ABI and the Atlanta BeltLine program.




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      53.    The use of the Infringing Names and the blue and green color scheme

and circular logo by the defendants in connection with their real estate business is

likely to cause confusion, or to cause mistake or to deceive and violates ABI’s

intellectual property rights.

                                    Count One

                        (Federal Trademark Infringement)

      54.    ABI realleges and incorporates herein the allegations contained in

Paragraphs 1 through 53 above.

      55.    The ABI Marks are of great and incalculable value, are distinctive,

and have become associated in the public mind with an urban and real estate

development of the very highest quality and reputation and a principle-based brand.

      56.    Without ABI’s authorization or consent, and having knowledge of

ABI’s well-known and senior rights in the ABI Marks, and that the Infringing

Names are confusingly similar to the ABI Marks, the defendants have offered for

sale their goods and services to the consuming public in or affecting interstate

commerce using the Infringing Names.

      57.     The defendants’ use of the Infringing Names is likely to cause and is

causing confusion, mistake and deception among the general purchasing public as

to the origin of the defendants’ goods and services, and is likely to deceive the


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public into believing the goods and services being sold by the defendants originate

from, are associated with or are otherwise authorized by ABI, all to the damage

and detriment of ABI’s and the Atlanta BeltLine project’s reputation, goodwill,

funding and popularity.

       58.       The website identified by the Infringing Domain Name and the

Billboard intentionally trade on the ABI Marks and goodwill by claiming that

“[n]o Atlanta real estate agent is more involved with the Atlanta Beltline

project . . .”

       59.       The defendants’ use of the Infringing Names in connection with their

goods and services in interstate commerce constitutes trademark infringement in

violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       60.       The defendants are liable to ABI for damages for trademark

infringement in violation of 15 U.S.C. § 1114, including all damages it has and

may later sustain due to the defendants’ improper conduct, and all of the

defendants’ profits resulting from their improper conduct, in an amount to be

proven at trial, as well as the costs of the action, pursuant to 15 U.S.C. § 1117.

       61.       ABI has no adequate remedy at law, and if the defendants’ activities

are not enjoined, ABI will continue to suffer irreparable harm and injury to ABI’s

goodwill and reputation. ABI, therefore, is also entitled to a preliminary and


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permanent injunction enjoining the defendants from any use of the Infringing

Names, the Billboard and the ABI Marks pursuant to 15 U.S.C. § 1116.

      62.   The actions of the defendants have been willful and deliberate

justifying an award of treble damages, and amount to exceptional circumstances,

justifying an award of attorney fees to ABI pursuant to 15 U.S.C. § 1117.

                                   Count Two

                 (Unfair Competition and False Endorsement)

      63.   ABI realleges and incorporates herein the allegations contained in

Paragraphs 1 through 53 above.

      64.   ABI and the defendants are competing sources of real estate-related

services.

      65.   ABI has the exclusive right to use the BELTLINE and ATLANTA

BELTLINE brands to promote its real estate development services and related

goods and services.

      66.    The defendants’ use of the Infringing Names falsely suggests that

Duckworth’s real estate services are connected to ABI’s real estate development

services.

      67.    The defendants’ use of the Infringing Names falsely suggests that the

defendants’ real estate services are endorsed by ABI.


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      68.    By using the Infringing Names, the defendants misrepresent and

falsely describe to the general public the origin and source of defendants’ goods

and services and creates a likelihood of confusion as to both the source and

sponsorship of such goods and services.

      69.    The defendants’ unlawful, unauthorized and unlicensed offer for sale

and sale of their goods and services under the Infringing Names creates express

and implied representations that those goods and services were created, authorized

or approved by ABI, all to the defendants’ profit and ABI’s damage and injury.

      70.    The defendants’ use of the ABI Marks, in connection with his goods

and services in interstate commerce, constitutes a false endorsement and unfair

competition in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

      71.    The defendants are liable to ABI for damages for false endorsement

and unfair competition in violation of 15 U.S.C. § 1125, including all damages it

has and may later sustain due to defendants’ improper conduct, and all defendants’

profits resulting from their improper conduct, in an amount to be proven at trial, as

well as the costs of this action, pursuant to 15 U.S.C. § 1117.

      72.    ABI has no adequate remedy at law, and if the defendants’ activities

are not enjoined, ABI will continue to suffer irreparable harm and injury to ABI’s

goodwill and reputation. ABI, therefore, is also entitled to a preliminary and


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permanent injunction enjoining the defendants from any use of the Infringing

Names, the Billboard and the ABI Marks pursuant to 15 U.S.C. § 1116.

      73.     The defendants’ actions have been willful and deliberate justifying an

award of treble damages, and amount to exceptional circumstances, justifying an

award of attorney fees to ABI pursuant to 15 U.S.C. § 1117.

                                    Count Three

                          (Federal Trademark Dilution)

      74.     ABI realleges and incorporates herein the allegations contained in

Paragraphs 1 through 53 above.

      75.     The ABI Marks are “famous marks” within the meaning of Section

43(c) of the Lanham Act, 15 U.S.C. § 1125(c)(1), and were “famous marks” prior

to defendants’ conduct alleged herein.

      76.     The defendants’ distribution, offer for sale, and sale in commerce of

their goods and services through use of the Infringing Names dilutes the distinctive

quality of the ABI Marks and were done with the willful intent to trade on ABI’s

reputation.

      77.     The defendants’ use of the Infringing Names is likely to impair the

distinctiveness of the ABI Marks.




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        78.   The defendants’ use of the Infringing Names is likely to tarnish and

harm the reputation of the ABI Marks.

        79.   The defendants’ unauthorized use of the Infringing Names in

connection with their goods and services has occurred with notice and full

knowledge that their use of same is not authorized or licensed by ABI.

        80.   The defendants’ actions have been committed in knowing and willful

violation of ABI’s rights under Section 43(c) of the Lanham Act, 15 U.S.C. §

1125(c).

        81.   The defendants are liable to ABI for damages for dilution in violation

of 15 U.S.C. § 1125, including all damages it has and may later sustain due to the

defendants’ improper conduct, and all defendants’ profits resulting from their

improper conduct, in an amount to be proven at trial, as well as the costs of this

action, pursuant to 15 U.S.C. § 1117.

        82.   ABI has no adequate remedy at law and, if the defendants’ activities

are not enjoined, ABI will continue to suffer irreparable harm and injury to the

distinctiveness and reputation of the ABI Marks. ABI, therefore, is also entitled to

a preliminary and permanent injunction enjoining the defendants from any use of

the Infringing Names, the Billboard and the ABI Marks pursuant to 15 U.S.C. §

1116.


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      83.    The Defendants’ actions have been willful and deliberate justifying

an award of treble damages, and amount to exceptional circumstances, justifying

an award of attorney fees to ABI pursuant to 15 U.S.C. § 1117.

                                  Count Four

(Violation of Anti-Cybersquatting Provisions of Section 43(d) of the Lanham
                         Act (15 U.S.C. § 1125(d))

      84.   ABI realleges and incorporates herein the allegations contained in

Paragraphs 1 through 53 above.

      85.   Defendant Duckworth registered the Infringing Domain Name on

September 23, 2008 and has renewed the registration since then, and the

defendants are using the Infringing Domain Name as the address for their website.

      86.   The Infringing Domain Name is confusingly similar to the

BELTLINE Mark, which was already in use by ABI or its predecessor in interest

ABP, and was distinctive at the time of registration of the Infringing Domain

Name and was famous at the time of registration of the domain name.

      87.   The defendants’ unauthorized use of the Infringing Domain Name has

occurred with notice and full knowledge of ABI’s rights with respect to the

BELTLINE mark and with full knowledge that defendants’ use of the Infringing

Domain Name is not authorized or licensed by ABI.




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      88.   The registration and use of the Infringing Domain Name by the

defendants has been with a bad faith intent to profit from the BELTLINE mark,

intending to trade upon the reputation and goodwill associated with the

BELTLINE mark.

      89.   The defendants’ actions have been committed in knowing and willful

violation of ABI’s rights under Section 43(d) of the Lanham Act, 15 U.S.C. §

1125(d).

      90.    The defendants are liable to ABI for damages for violation of 15

U.S.C. § 1125(d), including all damages it has and may later sustain due to the

defendants’ improper conduct, and all defendants’ profits resulting from their

improper conduct, in an amount to be proven at trial, as well as the costs of this

action, pursuant to 15 U.S.C. § 1117.

      91.   ABI has no adequate remedy at law and, if the defendants’ activities

are not enjoined, ABI will continue to suffer irreparable harm and injury to the

distinctiveness and reputation of the ABI Marks.

      92.   ABI, therefore, is also entitled to a preliminary and permanent

injunction enjoining the defendants from registration and use of the Infringing

Domain Name pursuant to 15 U.S.C. § 1116 and ordering forfeiture or cancellation

of the Infringing Domain Name or transfer of the Infringing Domain Name to ABI.


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      93.    The Defendants’ actions have been willful and deliberate justifying

an award of treble damages, and amount to exceptional circumstances, justifying

an award of attorney fees to ABI pursuant to 15 U.S.C. § 1117.

                                   Count Five

        (Georgia Trademark Infringement under O.C.G.A. § 10-1-450)

      94.   ABI realleges and incorporates herein the allegations contained in

Paragraphs 1 through 53 above.

      95.   ABI has procured for itself, under the provisions of O.C.G.A. Title 10,

Ch. 1, the registration of the ATLANTA BELTLINE and BELTLINE marks,

which are more particularly described in the registrations attached hereto as

Exhibits C and E, respectively.

      96.   ABI’s trademark registrations cover “construction and repair/urban

redevelopment” and “construction and repair/urban redevelopment: providing

online information relating to urban redevelopment,” respectively.

      97.   The ATLANTA BELTLINE and BELTLINE marks are of great and

incalculable value, are distinctive, and have become associated in the public mind

with a real estate development of the very highest quality and reputation and a

principle-based brand.




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      98.    Without the consent of ABI, the defendants are using the Infringing

Names in connection with their real estate business in violation of O.C.G.A. Title

10, Ch. 1.

      99.    The defendants have used the Infringing Names to cause confusion or

mistake or to deceive as to the source of origin of their goods and services.

      100.   The defendants are liable to ABI for all damages ABI has and may

later sustain due to the defendants’ improper conduct, and all of the defendants’

profits resulting from their improper conduct, in an amount to be proven at trial,

pursuant to O.C.G.A. § 10-1-450.

      101. Alternatively, ABI is entitled to liquidated damages pursuant to

O.C.G.A. § 10-1-450.

      102. ABI has no adequate remedy at law, and if the defendants’ activities

are not enjoined, ABI will continue to suffer irreparable harm and injury to ABI’s

goodwill and reputation. ABI, therefore, is also entitled to a preliminary and

permanent injunction enjoining the defendants from any use of the Infringing

Names, the Billboard and the ATLANTA BELTLINE and BELTLINE marks

pursuant to O.C.G.A. § 10-1-451.

      103.   The Defendants’ willful misconduct is also attended by malice, fraud,

wantonness, oppression, and an entire want of care that raises a presumption of


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conscious indifference to the consequences of their actions, such that the

defendants are also liable to ABI for punitive damages pursuant to O.C.G.A. § 51-

12-5.1.

                                     Count Six

                    (Common Law Trademark Infringement)

       104. ABI realleges and incorporates herein the allegations contained in

Paragraphs 1 through 53 above.

       105. The ABI Marks constitute valid and protectable marks under common

law.

       106.    The defendants are liable for infringement of the ABI Marks under

the common law of Georgia.         As alleged herein, the defendants’ use of the

Infringing Names, blue and green color scheme and circular logo in connection

with the offer for sale and sale of their goods and services is likely to cause

confusion or mistake or to deceive consumers as to the source and sponsorship of

goods and services.

       107.    The defendants are liable to ABI for all damages it has and may later

sustain due to the defendants’ improper conduct, and all their profits resulting from

their improper conduct, in an amount to be proven at trial.




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      108. ABI has no adequate remedy at law, and if the defendants’ activities

are not enjoined, ABI will continue to suffer irreparable harm and injury to ABI’s

goodwill and reputation. ABI, therefore, is also entitled to a preliminary and

permanent injunction enjoining the defendants from any use of the Infringing

Names, the blue and green color scheme and circular logo, the Billboard and the

ABI Marks.

      109.   The defendants’ willful misconduct is also attended by malice, fraud,

wantonness, oppression, and an entire want of care that raises a presumption of

conscious indifference to the consequences of their actions, such that they are also

liable to ABI for punitive damages pursuant to O.C.G.A. § 51-12-5.1.

                                   Count Seven

              (Unfair Competition Under Georgia Common Law)

      110. ABI realleges and incorporates herein the allegations contained in

Paragraphs 1 through 53 above.

      111.   The defendants have willfully and deliberately engaged in unfair

competition with ABI in violation of the common law of the State of Georgia in

connection with the offer for sale, sale and promotion of their goods and services,

with the intention of trading upon the goodwill established by ABI.




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      112. ABI and the defendants are competing sources of real estate-related

services.

      113. ABI has the exclusive right to use the ABI Marks to promote its real

estate development services and related goods and services.

      114. The defendants’ use of the Infringing Names, blue and green color

scheme and circular logo falsely suggests that their real estate services are

connected to ABI’s real estate development services.

      115. The defendants’ use of the Infringing Names, blue and green color

scheme and circular logo falsely suggests that their real estate services are

endorsed by ABI.

      116. The defendants are misappropriating the benefits of substantial effort

and money expended by ABI in establishing its rights in the ABI Marks.

      117. The defendants are liable to ABI for all damages it has and may later

sustain due to the defendants’ improper conduct, and all their profits resulting from

their improper conduct, in an amount to be proven at trial.

      118. ABI has no adequate remedy at law, and if the defendants’ activities

are not enjoined, ABI will continue to suffer irreparable harm and injury to ABI’s

goodwill and reputation. ABI, therefore, is also entitled to a preliminary and

permanent injunction enjoining the defendants from any use of the Infringing


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Names, blue and green color scheme and circular logo the Billboard and the ABI

Marks.

      119. The defendants’ willful misconduct is also attended by malice, fraud,

wantonness, oppression, and an entire want of care that raises a presumption of

conscious indifference to the consequences of their actions, such that they are also

liable to ABI for punitive damages pursuant to O.C.G.A. § 51-12-5.1.

                                   Count Eight

               (Georgia Uniform Deceptive Trade Practices Act)
      120. ABI realleges and incorporates herein the allegations contained in

Paragraphs 1 through 53 above.

      121. The defendants’ use of the Infringing Names, blue and green color

scheme and circular logo (a) allows the defendants to pass off their goods and

services as if they were the goods and services of ABI; (b) causes likelihood of

confusion or misunderstanding as to source, sponsorship, and approval; (c) causes

likelihood of confusion as to affiliation, connection, and sponsorship; and (d)

otherwise creates a likelihood of confusion and misunderstanding.

      122. The defendants’ use of the Infringing Names, blue and green color

scheme and circular logo therefore, constitutes a violation of the Georgia Uniform

Deceptive Trade Practices Act, O.C.G.A. § 10-1-370, et seq.



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      123. Because of the defendants’ conduct, ABI is entitled to injunctive relief

pursuant to O.C.G.A. § 10-1-373.

                                   Count Nine

                (Unfair Competition under O.C.G.A. § 23-2-55)

      124. ABI realleges and incorporates herein the allegations contained in

Paragraphs 1 through 53 above.

      125. The defendants are improperly using the Infringing Names, blue and

green color scheme and circular logo in an attempt to encroach upon the business

of ABI with the intention of deceiving or misleading the public.

      126. The defendants’ conduct is a fraud for which equity will grant relief

pursuant to O.C.G.A § 23-2-55, and they are liable to ABI for damages in an

amount to be proven at trial.

      127. The defendants’ willful misconduct is also attended by malice, fraud,

wantonness, oppression, and an entire want of care that raises a presumption of

conscious indifference to the consequences of their actions, such that they are also

liable to ABI for punitive damages pursuant to O.C.G.A. § 51-12-5.1.




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                                    Count Ten

                    (Dilution under O.C.G.A. § 10-1-451(b))

      128. ABI realleges and incorporates herein the allegations contained in

Paragraphs 1 through 53 above.

      129. The ABI Marks are of such originality that they are capable of

exclusive appropriation.

      130. The defendants’ use of the Infringing Names has injured and is likely

to injure ABI’s business reputation by diluting the distinctive quality of the ABI

Marks.

      131. The defendants’ unlawful conduct is knowing and willful.

      132. The defendants’ use of the Infringing Names constitutes a violation of

O.C.G.A. § 10-1-451(b) and they are liable to ABI for wrongful dilution.

      133. The defendants are subject to injunctive and equitable relief pursuant

to O.C.G.A. § 10-1-451(b) and are also liable to ABI for damages and an

accounting of profits in an amount to be determined at trial.

      134. The defendants’ willful misconduct is also attended by malice, fraud,

wantonness, oppression, and an entire want of care that raises a presumption of

conscious indifference to the consequences of their actions, such that they are also

liable to ABI for punitive damages pursuant to O.C.G.A. § 51-12-5.1.



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                                  Count Eleven

                                 (Attorney Fees)

      135. ABI realleges and incorporates herein the allegations contained in

Paragraphs 1 through 53 above.

      136. The defendants have acted in bad faith, have been stubbornly litigious

and have put ABI to unnecessary trouble and expense.

      137. The defendants are therefore liable to ABI for its expenses of

litigation, including reasonable attorney fees, pursuant to O.C.G.A. § 13-6-11.

      WHEREFORE, ABI requests that this Court:

      (a)   grant judgment for ABI and against the defendants on the Complaint;

      (b)   grant judgment for ABI and against the defendants as to its claim for

federal trademark infringement in violation of Section 32 of the Lanham Act, 15

U.S.C. §1114;

      (c)   grant judgment for ABI and against the defendants as to its claim for

federal unfair competition and false endorsement in violation of Section 43(a) of

the Lanham Act, 15 U.S.C. § 1125(a);

      (d)   grant judgment for ABI and against the defendants as to its claim for

federal trademark dilution in violation of Section 43(c) of the Lanham Act, 15

U.S.C. § 1125(c);



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      (e) grant judgment for ABI against the defendants as to its claim for

violation of the anti-cybersquatting provisions of Section 43(d) of the Lanham Act,

15 U.S.C. §1125(d).

      (e)    grant judgment for ABI and against the defendants as to its claim for

Georgia trademark infringement in violation of O.C.G.A. § 10-1-450;

      (f)    grant judgment for ABI and against the defendants as to its claim for

trademark infringement under the common law of the State of Georgia;

      (g)    grant judgment for ABI and against the defendants as to its claim for

unfair competition under the common law of the State of Georgia;

      (h)    grant judgment for ABI and against the defendants as to its claim for

violation of the Georgia Uniform Deceptive Trade Practices Act;

      (i)    grant judgment for ABI and against the defendants as to its claim for

unfair competition within the proscription of O.C.G.A. § 23-2-55;

      (j)    grant judgment for ABI and against the defendants as to its claim for

dilution under O.C.G.A. § 10-1-451(b);

      (k)    award ABI its expenses of litigation, including reasonable attorney

fees, pursuant to O.C.G.A. § 13-6-11;

      (l)    enjoin the defendants, including their agents, servants, employees,

attorneys, confederates, and all persons acting for, with, by, through or under them;


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        (i)     from using the Infringing Names, blue and green color scheme

and circular logo or any ABI Marks in any manner in connection with the

advertising, offering for sale, or sale of any product or service that is not

ABI’s, or is not authorized by or affiliated with ABI;

        (ii)    from using the name BeltLine, in any format or font, in

connection with their business;

        (iii)   from using the Infringing Names or from inducing or enabling

others to do so;

        (iv)    from advertising in the fashion of that shown on the Billboard;

        (v)     from using a blue and green color scheme and circular logo

currently being used by the defendants, or any color scheme or logo that is

confusingly similar to the ABI blue and green color scheme and circular

logo;

        (vi)    from passing off, inducing, or enabling others to sell or pass off

any goods or services as and for goods or services under the control and

supervision of ABI and approved by ABI for sale under the ABI Marks;

        (vii) from committing any acts calculated to cause purchasers to

believe that the defendants’ goods and services are those sold under the

control and supervision of ABI, or sponsored or approved by, or connected


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      with, or guaranteed by, or produced under the control and supervision of

      ABI;

             (viii) from further diluting and infringing the ABI Marks and

      damaging ABI’s goodwill; and

             (ix)   from otherwise competing unfairly with ABI in any manner;

      (m)    order that Duckworth cancel or forfeit the Infringing Domain Name or

transfer the Infringing Domain Name to ABI;

      (n)    order that the defendants account for and pay over to ABI profits

realized by them by reason of their unlawful acts and that the amount of damages

for each infringement of the ABI Marks be increased by a sum not exceeding three

times the amount thereof as provided by law;

      (o)    award ABI damages in an amount to be determined at trial;

      (p)    award ABI its expenses of litigation, including reasonable attorney

fees, pursuant to 15 U.S.C. § 1117;

      (q)    award ABI treble damages;

      (r)    tax all costs against the defendants; and

      (s)    grant ABI such additional relief as this Court deems just.

                                   Jury Demand

      ABI demands trial by Jury on all triable issues.


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        This 22d day of June, 2020.

                                               /s/ Michael J. King
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